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                1   BARNES & THORNBURG LLP
                    David P. Schack (SBN 106288)
                2   david.schack@btlaw.com
                    Matthew B. O’Hanlon (SBN 253648)
                3   matthew.o’hanlon@btlaw.com
                    2029 Century Park East, Suite 300
                4   Los Angeles, CA 90067-3012
                    Telephone: 310-284-3880
                5   Facsimile: 310-284-3894
                6   Attorneys for Plaintiffs Alan Baker
                    and Linda B. Oliver
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                8
                                            UNITED STATES DISTRICT COURT
                9
                                          CENTRAL DISTRICT OF CALIFORNIA
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            11
                    ALAN BAKER, LINDA B. OLIVER;           Case No. 2:19-cv-08024-ODW-JC
            12
                                       Plaintiffs,         NOTICE OF CONDITIONAL
            13                                             SETTLEMENT
                          v.
            14
                    ALLSTATE INSURANCE COMPANY,
            15      EDWARD CARRASCO, and DOES 1
                    through 10, inclusive,
            16
                                       Defendants.
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   B ARNES &
T HORNBURG LLP
ATTORNEYS AT LAW
  LOS ANGELES                         NOTICE OF CONDITIONAL SETTLEMENT
                Case 2:19-cv-08024-ODW-JC Document 48 Filed 01/17/20 Page 2 of 2 Page ID #:811



                1         TO THE COURT AND ALL PARTIES AND ATTORNEYS OF RECORD:
                2         PLEASE TAKE NOTICE pursuant to Local Rule 40-2 that the parties have
                3   reached a conditional settlement in principle of the case. The deadline to fulfill the
                4   settlement terms will be 15 days after execution of a settlement agreement, which has
                5   yet to occur. Once the settlement terms have been fulfilled, the parties will submit a
                6   stipulation for dismissal of the case with prejudice.
                7
                                                                     BARNES & THORNBURG LLP
                8
                9 Dated: January 17, 2020                    By: /s/ Matthew B. O’Hanlon
                                                                 David P. Schack
            10                                                   david.schack@btlaw.com
                                                                 Matthew B. O’Hanlon
            11                                                   matthew.o’hanlon@btlaw.com
                                                                 Attorneys for Plaintiffs Alan Baker and
            12                                                   Linda B. Oliver
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   B ARNES &
T HORNBURG LLP                                                   1
ATTORNEYS AT LAW
  LOS ANGELES
                                       NOTICE OF CONDITIONAL SETTLEMENT
